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                                      UNITED STATES DISTRICT COURT
                                                FOR THE
                                     NORTHERN DISTRICT OF NEW YORK


                                                      NOTICE
                 THE ATTACHED FILING ORDER IS A TIME SENSITIVE DOCUMENT

This filing order is to be served on all parties to the action along with the complaint or petition for removal
within sixty (60) days of filing this action.

The attached Civil Case Management Plan must be completed and filed with the clerk no later than seven (7)
days prior to the conference date referenced below.

CONFERENCE DATE/TIME: May 10, 2021, at 10:30 AM

CONFERENCE LOCATION: All conferences will be conducted by telephone unless the parties are
specifically directed to appear. Counsel for the plaintiff is directed to coordinate the initial conference
call. Once all parties are on the conference line, Judge Baxter’s chambers can be reached at 315-234-
8600.

BEFORE MAGISTRATE JUDGE: ANDREW T. BAXTER

CONTENTS:

        k        General Order #25 (Filing Order)

        k        Case Management Plan

        k        Case Assignment and Filing Locations

        k        Consent Form to Proceed before U.S. Magistrate Judge

NOTE: ALL CIVIL ACTIONS SHALL BE REFERRED INTO THE NORTHERN DISTRICT’S MANDATORY
MEDIATION PROGRAM EXCEPT THOSE CASES THAT HAVE BEEN DESIGNATED AS EXEMPT UNDER
SECTION 2.1 (A) OF GENERAL ORDER #47. If the ADR track below has been checked, this case will be referred into the
Mandatory Mediation Program. Counsel are directed to review the Mandatory Mediation Plan prior to the Rule 16 Conference.
Please refer to General Order #47 - Mandatory Mediation Program which is available on the Court’s website at
www.nynd.uscourts.gov.



                                                        X   ADR Track
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                                        UNITED STATES DISTRICT COURT
                                                  FOR THE
                                       NORTHERN DISTRICT OF NEW YORK

                                                   GENERAL ORDER #25

                        I. PURPOSE                                                          III. SERVICE

It is the policy of this court to help litigants resolve their      A. Timing: When serving a Complaint or Notice of
civil disputes in a just, timely and cost-effective manner. To      Removal, the filing party shall serve on all other parties a
that end, this court has adopted an Expense and Delay               copy of this General Order and the attached materials.
Reduction Plan in accordance with the Civil Justice Reform          Service of process should be completed within Sixty (60)
Act of 1990. This will tailor the level of individualized case      days from the initial filing date. This expedited service is
management needs to such criteria as case complexity, and           necessary to fulfill the dictates of the Civil Justice Reform
the amount of time reasonably needed to prepare the case for        Act Expense and Delay Reduction Plan of this court and to
trial.                                                              ensure adequate time for pretrial discovery and motion
                                                                    practice. However, in no event shall service of process be
                          II. SCOPE                                 completed after the time specified in Fed. R. Civ. P. 4, or
                                                                    any other Rule or Statute which may govern service of
This order applies to all civil cases filed in this court except:   process in a given action.
multi-district litigation, case remanded from the appellate
court, reinstated and reopened cases, and cases in the              B. Filing Proof(s) of Service: Proof(s) of service of process
following Nature of Suit (NOS) categories indicated on the          are to be filed with the clerk’s office no later than five (5)
JS44 Civil Cover Sheet: Prisoner Petitioners (463,510-560),         days after service of the complaint or notice of removal with
Forfeiture/Penalty (625,690), Bankruptcy Appeals                    a copy of this General Order.
(422,423), Social Security Appeals (861-865), Contracts
(only NOS 150) and other contract actions which involve the         C. Non Compliance with Sixty (60) Day Service
collection of debts owed to the United States), and Real            Requirement: In the event that the filing party cannot
Property (only NOS 220), and Naturalization Application &           comply with the Sixty (60) day service requirement, that
other Immigration Actions (NOS 462, 465) and Arbitration            party shall immediately notify the assigned Magistrate Judge
(NOS 896).                                                          and request an adjournment of the initial Rule 16 case
                                                                    management conference date contained in the attached Civil
*Note - When the Court deems it appropriate, Rule 16                Case Management Plan.
Scheduling Conferences will be held in the above excepted
actions.                                                            If an adjournment of the conference date is granted, it shall
                                                                    be the responsibility of the filing party to notify all parties to
The Court has adopted the guidelines of civility as outlined        the action of the new date, time and location for the case
in the New York State Bar Association Guidelines on                 management conference. Proof of service of such notice
Civility in Litigation, a copy of which is available on the         shall then be immediately filed with the clerk’s office.
courts web-site at www.nynd.uscourts.gov.
                                                                                  IV. ADDITIONAL PARTIES

                                                                    Any party who, after the filing of the original complaint or
                                                                    notice of removal, causes a new party to be joined in the
                                                                    action shall promptly serve on that new party a copy of
                                                                    General Order 25 along with any additional Uniform Pretrial
                                                                    Scheduling Order that has been entered by the court.




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                  V. REMOVED CASES                                                  VIII. ADR PROGRAMS

In cases removed to this court from a state court, the             It is the mission of this court to do everything it can to help
removing defendant(s) shall serve on the plaintiff(s) and all      parties resolve their disputes as fairly, quickly, and
other parties, at the time of service of the notice of removal,    efficiently as possible. The Court has adopted a Mandatory
a copy of this General Order with the attached materials.          Mediation Program - see General Order #47 available on the
The filing of a motion for remand does not relieve the             Court’s website. All civil cases that are not exempt under
moving party of any obligation under this General Order            General Order #47 and are filed after January 1, 2014, as
unless the assigned judge or magistrate judge specifically         well as all cases where a Rule 16 Conference is scheduled
grants such relief.                                                after January 1, 2014, will be placed into the Mandatory
                                                                   Mediation Program. The Court may also refer other pending
              VI. TRANSFERRED CASES                                cases into the Mandatory Mediation Program. The parties
                                                                   are directed to review the Mandatory Mediation Plan
The clerk shall serve a copy of this General Order on all          requirements prior to the Rule 16 Pretrial Conference. At
parties that have appeared in any action transferred to this       the Rule 16 Pretrial Conference, the assigned Magistrate
district. The clerk shall set a return date for the initial Rule   Judge will set a deadline for the completion of Mediation
16 case management conference on the form attached to the          under General Order #47. The referral of a case to the
General Order. It shall be the obligation of the plaintiff or      Mandatory Mediation Program does not delay or defer other
plaintiff’s counsel to arrange for completion of the attached      dates established in the Scheduling Order and has no effect
Case Management Plan and to file the Plan with the clerk           on the scheduled progress of the case toward trial.
and to serve this General Order upon any party who had not
appeared in the action at the time of transfer.                    A) Settlement Conferences:
                                                                   The parties are advised that the court will honor a request for
Attorneys appearing in transferred cases are reminded of           a settlement conference at any stage of the proceeding. A
their obligation to be properly admitted to this district in       representative of the parties with the authority to bind the
accordance with Local Rule 83.1. Attorneys must also be            parties must be present with counsel or available by
registered for electronic filing. Refer to Section XII of this     telephone at any settlement conference.
General Order.
                                                                   B) Consent to Jury or Court Trial Before A
VII.    MATERIALS INCLUDED WITH                          THIS      United States Magistrate Judge:
        GENERAL ORDER PACKET                                       By written stipulation, the parties to any civil action may
                                                                   elect to have a magistrate judge (instead of the assigned
A)      Notice of Initial Rule 16 Case Management                  Article III judge) conduct all proceedings in any civil case,
        Conference                                                 including presiding over a jury or bench trial. A trial before
B)      Civil Case Management Plan                                 a magistrate judge is governed by the same procedural and
C)      Case Assignment Form                                       evidentiary rules as trial before a district judge. The right to
D)      Notice and Consent Form to Exercise of                     appeal is automatically preserved to the United States Court
        Jurisdiction by a United States Magistrate Judge           of Appeals under the same standards which govern appeals
                                                                   from an Article III judge. Parties often consent to resolution
                                                                   of their civil disputes by magistrate judge bench or jury trial
                                                                   because magistrate judges have less crowded calendars.




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                     IX. DISCOVERY                                                      XII. ELECTRONIC FILING

A. Discovery Motions: Prior to bringing a discovery dispute        As of January 1, 2004, all documents submitted for filing by
to a Magistrate Judge, the parties must confer in good faith       attorneys admitted to practice in the Northern District of
in accordance with the provisions of Local Rule 37.1(d). In        New York shall be filed electronically using the CM/ECF
addition, no non-dispositive or discovery motions should be        system. Refer to General Order #22 for procedures for filing
presented to the Court unless authorized by the Magistrate         documents electronically. Attorneys must be registered for
Judge after communication with the Magistrate Judges’              both PACER and CM/ECF. Consult the CM/ECF section of
chambers.                                                          the courts web-site at www.nynd.uscourts.gov for PACER
                                                                   registration, CM/ECF registration, CM/ECF training dates,
B. Filing Discovery: Parties are directed not to file              and General Order #22.
discovery material unless it is being filed in accordance with
Local Rule 26.2.                                                                        REVISED GENERAL ORDER #25
                                                                                           Dated: December 4, 2020
For additional information on local requirements related to
                                                                                   s/
depositions and discovery please refer to Section V. of the
                                                                                               Hon. Glenn T. Suddaby.
Local Rules of this court.                                                                     Chief U.S. District Judge

                       X. MOTIONS                                  - The 1/3/2010 revision added Magistrate Judge Andrew T. Baxter.
                                                                   - The 4/18/2011 revision added U.S. District Judge Mae A. D’Agostino and Magistrate Judge
                                                                   Victor E. Bianchini.
A. Motions: Motions are decided without oral argument              - The 12/16/2011 revision reflects Hon. Gary L. Sharpe as Chief Judge.
                                                                   - The 2/10/2012 revision added Magistrate Judge Thérèse Wiley Dancks.
unless scheduled by the Court.                                     - The 9/1/2012 revision added Magistrate Judge Christian F. Hummel.
                                                                   - The 10/1/2012 revision reflects the retirement of Senior Judge Neal P. McCurn.
                                                                   - The 10/25/2013 revision includes information on Mandatory Mediation - See Gen.Order #47.
For additional information on local requirements related to        - The 11/4/2013 revision includes changes to deadlines for mandatory disclosures under Fed.
                                                                   Rule 26(a), and changes the date for the filing of the civil case management plan from 14 days
motion practice, please refer to Local Rule 7.1.                   prior to the conference to 7 days prior to the conference.
                                                                   - The 12/29/2014 revision added U.S. District Judge Brenda K. Sannes.
                                                                   - The 10/1/2015 revision reflects Hon. Glenn T. Suddaby as Chief Judge, added Magistrate Judge
     XI. CASE MANAGEMENT CONFERENCE                                Daniel J. Stewart, and reflects the retirement of Hon. Randolph F. Treece.
                                                                   - The 1/1/2016 revision reflects Hon. Gary L. Sharpe taking senior status.
                                                                   - The 6/23/2016 revision relates to amended G.O. #47 Mandatory Mediation Program.
Except in actions exempted under Section II of this order, or      - The 7/23/2019 revision added Magistrate Judge Lovric and removed Magistrate Judge Peebles.
when otherwise ordered by the court, the parties shall, as         - The 12/4/2020 revision corrected Local Rules references in accordance with the changes to the
                                                                   2021 Local Rules, and removed all motion return dates and references to oral argument.
soon as practicable, but no later than twenty-one (21) days        - The 12/8/2020 revision updated the teleconference info for Magistrate Judge Lovric.
before the Rule 16 conference, confer to jointly address each
item contained in the attached Case Management Plan
packet. The completed plan is to be filed with the clerk not
later than seven (7) days prior to the conference date. The
NOTICE setting the date, time, and location for the initial
Rule 16 conference with the court is included as part of this
filing order. Mandatory disclosures under Fed. R. Civ. P.
26(a) shall be exchanged at least seven(7) days prior to the
conference date, unless the parties have obtained prior
approval from the assigned Magistrate Judge to extend that
deadline. The Civil Justice Reform Act Plan of this court
requires the court to set ‘’‘’early, firm’‘’‘ trial dates, such
that the trial is scheduled to occur within eighteen(18)
months after the filing of the complaint, unless a judicial
officer certifies that (I) the demands of the case and its
complexity make such a trial date incompatible with serving
the ends of justice; or (II) the trial cannot reasonably be held
within such time because of the complexity of the case or the
number or complexity of pending criminal cases.




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                                  CIVIL CASE MANAGEMENT PLAN

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK



 Christopher Iannacone

                                                                            No. 21-CV-126 GLS/ATB
   VS
 Algonquin SB Corporation et
 al.


IT IS HEREBY ORDERED that, Pursuant to Rule16(b), Federal Rules of Civil Procedure, a status and
scheduling conference will be held in this case before the Honorable ANDREW T. BAXTER, United States
Magistrate Judge on May 10, 2021, at 10:30 AM. All conferences will be conducted by telephone unless
the parties are specifically directed to appear. Counsel for the plaintiff is directed to coordinate the initial
conference call. Once all parties are on the conference line, Judge Baxter’s chambers can be reached at 315-
234-8600.

Counsel for all parties or individuals appearing pro se in the above-captioned action are directed to confer
in accordance with Fed. R. Civ. P. 26(f) with respect to all of the agenda items listed below, no later than
twenty-one (21) days before the scheduled Rule 16 Conference. Following that Rule 26(f) meeting, a report
of the results of the conference, in the format set forth below, must be filed with the clerk no later than seven
(7) days prior to the scheduled Rule 16 conference with the Court. Matters which the Court will discuss at
the status conference will include the following: (insert a separate subparagraph as necessary if parties
disagree):

1) JOINDER OF PARTIES: Any application to join any person as a party to this action shall be made on
or before _____________.

2) AMENDMENT OF PLEADINGS: Any application to amend the pleadings to this action shall be made
on or before _____________.

3) DISCOVERY: All discovery in this action shall be completed on or before _______________.
(Discovery time table is to be based on the complexity of the action)

4) MOTIONS: All motions, including discovery motions, shall be made on or before the ________ day of
___________________, ___________. (Non-Dispositive motions including discovery motions may only
be brought after the parties have complied with Section IX of General Order #25)




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5) EXPERT WITNESS DISCLOSURE: Plaintiff’s Expert Witness disclosure shall be exchanged on or
before ____________________ (at least 90 days before the close of discovery). Defendant’s Expert Witness
disclosure shall be exchanged on or before ____________ (at least 45 days before the close of discovery).
Rebuttal Expert Witness Disclosure shall be exchanged on or before ____________ (at least 30 days before
the close of discovery).

6) MANDATORY MEDIATION: A stipulation selecting mediator must be filed on or before
____________. Mediation must be completed on or before ____________.

7) PROPOSED DATE FOR THE COMMENCEMENT OF TRIAL: The action will be ready to proceed
to trial on or before ____________. It is anticipated that the trial will take approximately ______ days to
complete. The parties request that the trial be held in _______________, N.Y. (The proposed date for
the commencement of trial must be within 18 months of the filing date).

8) HAVE THE PARTIES FILED A JURY DEMAND: _____(YES) / _____(NO).

9) DOES THE COURT HAVE SUBJECT MATTER JURISDICTION? ARE THE PARTIES
SUBJECT TO THE COURT’S JURISDICTION? HAVE ALL PARTIES BEEN SERVED?




10) WHAT ARE THE FACTUAL AND LEGAL BASES FOR PLAINTIFF’S CLAIMS AND
DEFENDANT’S DEFENSES (INCLUDE COUNTERCLAIMS & CROSSCLAIMS, IF
APPLICABLE)?




11) WHAT FACTUAL AND LEGAL ISSUES ARE GENUINELY IN DISPUTE?




12) CAN THE ISSUES IN LITIGATION BE NARROWED BY AGREEMENT OR BY MOTIONS?
ARE THERE DISPOSITIVE OR PARTIALLY DISPOSITIVE ISSUES APPROPRIATE FOR
DECISION ON MOTION?




13) WHAT SPECIFIC RELIEF DO THE PARTIES SEEK? WHAT ARE THE DAMAGES
SOUGHT?




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14) DISCOVERY PLAN:

     A.      Mandatory Disclosures

     The parties will exchange the mandatory disclosures required under Rule 26(a)(1) at least
     seven (7) days prior to the date of the Rule 16 conference, unless they have obtained prior
     approval from the assigned Magistrate Judge to extend that deadline.


     B.      Subjects of Disclosure

     The parties jointly agree that discovery will be needed to address the following subjects:




     C.      Discovery Sequence

     Describe the parties’ understanding regarding the timing of the discovery, and state whether
     it is anticipated that discovery will be phased to address different issues in stages.




     D.      Written Discovery

     Describe the written discovery demands which the parties contemplate serving under Rules
     33, 34 and 36, including when they will be promulgated, the areas to be covered, and whether
     there is any need for any party to exceed the number of interrogatories permitted under Rule
     33.




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E.      Depositions

Set forth the parties’ expectations regarding depositions, including the approximate number
to be taken, their location, a general description of the deponents, and an indication of
whether any non-party fact depositions are anticipated.




F.      Experts

Set forth the parties’ expectations regarding the retention of experts, and identify any
particular issues to be addressed by the court concerning the retention and exchange of the
information regarding experts, including whether the parties seek a variance from the expert
disclosure requirements of the form uniform pretrial scheduling order typically issued by the
court (i.e., initial expert disclosure at least ninety days, responsive expert disclosures at least
forty-five days, and rebuttal reports due at least thirty days, before the close of discovery).




G.      Electronic Discovery

Set forth the parties’ understanding and expectations regarding discovery of electronically
stored information. This description should include any agreements reached with respect to
the retention of electronically stored information and the manner in which it will be
produced, if requested. The parties should also identify any agreements regarding the manner
in which electronically stored information subject to claims of privilege or work product
protection will be handled, and whether a court order will be requested, either on stipulation
or otherwise, to address this issue. If an agreement has been reached on the entry of such an
order, provide a brief description of the provisions which will be included in a proposed
order.




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         H.      Protective Orders

         If the parties anticipate requesting a protective order from the court pursuant to Rule 26©),
         describe the basis for the request and nature of the proposed protective order.




         I.      Anticipated Issues Requiring Court Intervention

         Provide a brief description of any discovery related issues which, the parties reasonably
         anticipate, may require court intervention.




15) IS IT POSSIBLE TO REDUCE THE LENGTH OF TRIAL BY STIPULATIONS, USE OF
SUMMARIES OR STATEMENTS, OR OTHER EXPEDITED MEANS OF PRESENTING EVIDENCE?
IS IT FEASIBLE AND DESIRABLE TO BIFURCATE ISSUES FOR TRIAL?




16) ARE THERE RELATED CASES PENDING BEFORE THE JUDGES OF THIS COURT?




17) IN CLASS ACTIONS, WHEN AND HOW WILL THE CLASS BE CERTIFIED?




18) WHAT ARE THE PROSPECTS FOR SETTLEMENT? Please circle below the prospect for settlement:

                          1-----2-----3-----4-----5-----6-----7-----8-----9-----10
                    (VERY UNLIKELY)º º º º º º º º º º º º (LIKELY)

      CANNOT BE EVALUATED PRIOR TO ______________________(DATE)




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HOW CAN SETTLEMENT EFFORTS BE ASSISTED?


(Do not indicate any monetary amounts at this time, settlement will be explored by the Magistrate Judge at the
time of the initial status conference)

COMPLETE QUESTION 19 ONLY IF YOUR FILING ORDER COVER SHEET WAS CHECKED AS AN
ADR TRACK CASE - Subject to Mandatory Mediation under General Order #47.

19) IF YOUR CASE WAS SELECTED AS A QUALIFYING MANDATORY MEDIATION CASE,
CONFIRM THAT YOU HAVE:

       A.     Reviewed General Order #47?        YES / NO

       B.     Reviewed the List of Court Approved Mediators available on the NDNY website?               YES / NO

       C.     Prepared to discuss with the Court, at the conference, whether your case should be opted
              out of the program?        YES / NO

       D.     Discussed the time frame needed to complete Mandatory Mediation?       YES / NO

 ****************************************************************************************
Pursuant to Fed. R. Civ. P. 26(f) a meeting was held on ______________ at ____________________and was
attended by:                                              (Date)                   (Place)
____________________________for plaintiff(s)

____________________________for defendant(s)_______________________________________________
                                                                                                   (party name)
____________________________for defendant(s)_______________________________________________
                                                                                                   (party name)
At the Rule 16(b) conference, the Court will issue an order directing the future proceedings in this action. The
parties are advised that failure to comply with this order may result in the imposition of sanctions pursuant to
Federal Rules of Civil Procedure 16(f).

Please detach this case management plan form and file electronically with the clerk no later
than seven (7) days in advance of the conference date.




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                                CASE ASSIGNMENT FORM

                         UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF NEW YORK


CIVIL ACTION NUMBER      21-CV-126, GLS/ATB

ALL CORRESPONDENCE AND FILINGS SHOULD BEAR THE INITIALS OF THE ASSIGNED JUDGE AND
MAGISTRATE JUDGE IMMEDIATELY FOLLOWING THE CIVIL ACTION NUMBER.
(IE: CIVIL ACTION NO 5:15-CV-0123, NAM-DJS)

DOCUMENTS SHOULD BE FILED IN ACCORDANCE WITH GENERAL ORDER #22.

     ACTION ASSIGNED TO THE JUDGE AND MAGISTRATE JUDGE CHECKED BELOW:

                                                                            INITIALS
            X          SENIOR JUDGE GARY L. SHARPE                                     (GLS)

            X          MAGISTRATE JUDGE ANDREW T. BAXTER                      (ATB)


                              PRO SE LITIGANTS:
        SEND ALL ORIGINAL PAPERS TO THE CLERK’S OFFICE LISTED BELOW:

                              Clerk, U.S. District Court
                              James T. Foley U.S. Courthouse
                              445 Broadway
                              Albany NY 12207-2936

                All papers filed with the Court must conform to Local Rule 10.1


                                      ~ COUNSEL ~

            ALL DOCUMENTS SHALL BE FILED ELECTRONICALLY
                    ON THE COURT’S CM/ECF SYSTEM

                PLEASE REFER TO GENERAL ORDER #22
       FOR PROCEDURES FOR FILING DOCUMENTS ELECTRONICALLY




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                           CONSENT TO THE EXERCISE
                 OF CIVIL JURISDICTION BY A MAGISTRATE JUDGE


In accordance with the provisions of 28 U.S.C. Section 636©), you are hereby notified that the
United States Magistrate Judges of this district court, in addition to their other duties, may, upon
consent of all the parties in a civil case, conduct any or all proceedings in the case, including a jury
or non jury trial, and order the entry of a final judgment.

You should be aware that your decision to consent to the referral of your case to a United States
Magistrate Judge for disposition is entirely voluntary and should be indicated by counsel endorsing
the attached consent form for the plaintiff(s)and defendant(s). If the form is executed by all counsel
for the parties (or by the parties if appearing pro se), it should be communicated solely to the clerk
of the district court. ONLY if all the parties to the case consent to the reference to a magistrate
judge will either the judge or magistrate judge to whom the case has been assigned be informed
of your decision.

Your opportunity to have your case disposed of by a magistrate judge is subject to the calendar
requirements of the court. Accordingly, the district judge to whom your case is assigned must
approve the reference of the case to a magistrate judge for disposition.

In accordance with 28 U.S.C. Section 636©) (3), an appeal from a judgment entered by a
magistrate judge will be taken to the United States Court of Appeals for this judicial circuit in the
same manner as an appeal from any other judgment of a district court. See Also L.R. 72.2(b)(5).




Copies of the consent form are available in any office of the clerk of the court and on the court
webpage at
                                  www.nynd.uscourts.gov




  **ATTACHED FOR YOUR CONSIDERATION IS A BLANK CONSENT FORM**




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                                              UNITED STATES DISTRICT COURT
                                                            for the
                                                 Northern District of New York



Christopher Iannacone

                     v.                                                     Civil Action No.: 21-CV-126 (GLS/ATB)

Algonquin SB Corporation et al.


     NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

           Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct all proceedings
in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment may then be appealed directly
to the United States court of appeals like any other judgment of this court. A magistrate judge may exercise this authority only if all parties
voluntarily consent.

        You may consent to have your case referred to a magistrate judge, or you may withhold your consent without adverse substantive
consequences. The name of any party withholding consent will not be revealed to any judge who may otherwise be involved with your
case.

        Consent to a magistrate judge’s authority. The following parties consent to have a United States magistrate judge conduct all
proceedings in this case including the trial, the entry of a final judgment, and all post-trial proceedings.

         Parties’ printed names                   Signatures of parties or attorneys                              Dates


___________________________________ __________________________________ ___________________________________

___________________________________ ___________________________________ ___________________________________

___________________________________ ___________________________________ ___________________________________

___________________________________ ___________________________________ ___________________________________


                                                          REFERENCE ORDER

IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and order the entry of a final
judgment in accordance with 28 U.S.C. §636©) and Fed. R. Civ. P. 73.

Date: __________________                                          ____________________________________________________
                                                                                  District Judge’s signature

                                                                  ____________________________________________________
                                                                                  Printed name and title


NOTE: Return this form to the clerk of the court only if you are consent to the exercise of jurisdiction by a United States magistrate judge.
      Do not return this form to a judge.
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                       NOTICE TO PARTIES OF COURT-DIRECTED
                         MANDATORY MEDIATION PROGRAM


You are receiving this Notice because your case has been referred into the Court’s Mandatory
Mediation Program.

Counsel are directed to carefully review the Mandatory Mediation Plan and the requirements
contained therein (General Order #47), prior to the Rule 16 Conference.

All inquiries regarding the Mandatory Mediation Program should be directed to:

                                        Renata Hohl
                                ADR Program Administrator
                                     U.S. District Court
                             James M. Hanley Federal Building
                                       P.O. Box 7367
                                    100 S. Clinton Street
                                 Syracuse, New York 13261
                                  Telephone: 315-234-8593
                           email: Renata_Hohl@nynd.uscourts.gov
